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                 USDC Appeal No. 2:17-CV-04157-RGK



                 UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF CALIFORNIA



              In re The Woman's Club of Hollywood, California
                                  Debtor




                      Jennifer Morgan, Appellant
                                    v.

                         Heide Kurtz, Appellee



           Appeal from the United States Bankruptcy Court
                    Appeal from a Final Judgment
          Bankruptcy Adversary Case No. 2:13-ap-01854-BR



              APPELLANT'S OPENING BRIEF

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          APPELLANT JENNIFER MORGAN'S OPENING BRIEF


       Appellant Jennifer Morgan submits this Appellant's Opening Brief via counsel

 David Hubbard.


          I. STATEMENT QF JURISDICTION

       This is an appeal from a final judgment in an adversary action in the

 Bankruptcy Court, entered on May 23, 2017, after a bench trial. (Judgment,

 Appendix Ex. 17. Appendix exhibits will hereafter be referred to as "App. Ex. X.")

 The notice of appeal was timely filed on May 31, 2017 (App. Ex. 18.)

       The FAC (App. Ex. 1, Par. 1, p. 3) alleged that the Bankruptcy Court had

 jurisdiction under 28 U.S.C. §§151, 157 and 1334 and 11 U.S.C. §§ 105, 323,

 502, 541(a), 542, 544, 548, 549, 550 and 551. It also alleged that the adversary

 proceeding was a core proceeding pursuant to 28 U.S.C. §157(b)(2)(A), (C), (E),

 (H), and (O).    However, at trial plaintiff/appellee Heide Kurtz offered no evidence

 of standing, and Appellant disputes jurisdiction.

       Assuming that the trial court had jurisdiction, this court has jurisdiction

 over this appeal under 28 U.S.C. §158.

              II. STANDARD OF REVIEW


        Carter v. Healthport Technologies 822 F.3d 47, 57 (2nd Cir. 2016) held:

          "On appeal, 4if the [district] court . . . resolved disputed facts, we
    will accept the court's findings unless they are 'clearly erroneous.'"
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    [Citation.] We review de novo the district court's conclusions of law, as

   well as findings that are based on undisputed facts evidenced in the record
       (i




                 111. STATEMENT OF ISSUES


            1.   Did the court have jurisdiction to enter a judgment against

    Morgan even though Kurtz failed to prove standing? Standard of review is

   de novo because the court resolved no issues of disputed facts.

            2.   Did the court err in finding that Morgan had no contract to be

    paid her salary despite the conclusive judicial admission in the FAC to the

    contrary? Standard of review is mixed: if this court finds that the trial

    court resolved a disputed issue of fact regarding the existence of the

    contract, the standard is whether the finding were clearly erroneous. If

    this court finds that the judicial admissions as to the existence of the

    contract made in the FAC are valid as a matter of law, and the court had

    no authority to ignore the admissions, then the review is de novo.

            3. If this court finds that Morgan did have a contract to be paid her

    salary: did the court err in requiring Morgan to return $120,000 she

    received from the loan proceeds despite lack of evidence by Kurtz proving

    what the amount due to Morgan was and that she received too much?

    Standard of review is de novo because the court resolved no issue of

    disputed fact as to how much Morgan was owed, for it found that she had
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    no valid contract.


           4. Did the court err in requiring Morgan to return $20,000, part of

    the amount she received from the loan proceeds, despite unrefuted

    evidence that she had already returned the money to the Club? The

    standard of review is de novo because the evidence was undisputed.

          5. Did the court err in finding that Morgan had converted $6,400?

    The standard of review is de novo because the evidence that Morgan did

    not convert the money and that Kurtz's evidence contradicted her own

    pleadings was undisputed.

             IV.   STATEMENT OF THE CASE


          After a 5-day bench trial, the court issued a judgment (App. Ex. 17.)

    It found that Morgan, CEO of The Woman's Club of Hollywood, had received

    $120,016.73 out of the proceeds of a $700,000 loan from Scapa

    (Judgment, App. Ex. 17, Par. 3.) Undisputed testimony at trial showed

    that Morgan contended that she was owed back salary and that in June,

    2011, she threatened to quit and sue the Club on a labor claim (App. Ex.

    19: March 9, 2017, transcript, p. 157, lines 6-20.)   President of the Club,

    Nina Van Tassell, then executed a note and trust deed of $100,000 to

    Morgan (FAC, App. Ex. 1, Par. 64, lines 24-27.) In exchange for the note

    and trust deed, Morgan did not quit as CEO and did not sue; she settled her


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    claim (App. Ex. 19: March 9, 2017, transcript, p. 157, lines 6-20.) Morgan

    then obtained the Scapa loan for the Club, and her trust deed was paid off

    from the loan proceeds in escrow on August 22, 2011 (FAC, App. Ex. 1,

    Par. 71, p. 20, line 28- p. 30, line 1.) The court found that no one on the

    Board would admit that he/she voted for the $700,000 Scapa loan, and

    the court thus found no Board approval for it (App. Ex. 16, May 17, 2017,

    transcript, p. 58, lines 15-20.) However, the court also found that no one

    ever complained about the loan (Id., at p. 60, lines 10-11; p. 66. lines 8-9.)

    The court found that there was a need for a loan, but possibly not for

    $700,000 (Id., at p. 60, lines 5-6.) However, the Scapa loan could not have

    been for less because of the trust deeds of Van Tassell and Morgan, who

    would not subordinate to a trust deed from Scapa.     Thus, the loan had to

    be for $700,000 (Id., at p. 60, lines 17-23.) The court found that Kurtz

    did not meet her burden to prove that much of the loan money was not

    spent on repairs and it found that the record was not clear and the facts

    were in dispute as to the cost of repairs (Id., at p. 67, lines 1-12.)

          The court found that the Board did not approve Morgan's contract

    (May 17, 2017, oral argument: App. Ex. 16, at p. 58, lines 6-21.) This

    finding is contradicted by Kurtz's judicial admissions in the FAC that the

    Board agreed to pay Morgan $8,000 a month and that the Resolution
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    approving the contract was entered into the Minutes on July 21, 2010, and

    ratified again on August 28, 2010 (FAC, App. Ex. 1, Pars. 38 and 39, and

    Ex. 3 thereto.) Because the court found that she had no contract, it

    entered judgment against Morgan for $120,016.73 for breach of fiduciary

    duty because she got paid that sum.

           There was uncontradicted testimony that the Club's accountant had

    already made Morgan return $20,000 from the loan proceeds (App Ex. 19,

    p. 135, lines 5-25 to p. 137, lines 1-4.) The court thus awarded a double

    recovery to plaintiff as to the $20,000.

          The court also entered judgment against Morgan for converting

    $6,400 (Judgment, App. Ex. 17, Par. 1.) The money came from a check to

    the Club. CEO Morgan had used the funds to pay Club's bills and on court

    transcripts, after the Board, acting as debtor in possession, approved

    Morgan's use of the funds (App Ex. 7, p 218, lines 8-25,) This evidence

    was unrefuted, but the court nonetheless found Morgan liable for

    conversion. It made no finding that the Club was or was not debtor in

    possession and able to control its own funds. The 18th. Claim for

    conversion of the FAC (App. Ex. 1) alleged that Morgan had deposited the

    $6,400 check into her own account, an allegation Kurtz did not prove.

          Kurtz produced no evidence of her standing at trial, and defendants
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    Morgan and Alda Shelton argued this defect in all their briefs. However,

    Kurtz never responded to the arguments in any of her three brief (Briefs,

    App. Exhibits. 10-15.)

             V. SUMMARY OF THE ARGUMENT


           1. Kurtz presented no evidence of standing, and the court had no

    jurisdiction to enter a judgment. Kurtz did not prove that she was the

    plaintiff in the FAC-the Chapter 11 Trustee.   Moreover, she did not prove

    that she was the Plan Trustee or that the Plan Trustee had any standing.

    The alleged Plan Trustee was not the plaintiff in the FAC. However, at trial

    Kurtz's counsel no longer even claimed that Kurtz was the Chapter 11

    Trustee in the captions of their trial briefs. No motion to amend the FAC

    was made nor could one be granted, for Kurtz ignored the standing issue

    at all stages of the trial.

          2. The court found that CEO Morgan had no contract. It erred in

    ignoring the FAC's conclusive judicial admissions that the Board had

    entered into a contract for $8,000 a month with Morgan, as approved in

    its July 21, 2010, Resolution. The court made a finding--on the basis of no

    testimony at all from the Board that voted on the Resolution-that the

     Board defrauded Morgan: the Board had a secret intention not to perform

     and led Morgan to work for free, believing she had a contract. The court


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    did not follow the canons of contract interpretation, and further inserted

    non-existent terms into the Resolution, if it even considered the

    Resolution at all.


          If the court finds that the Resolution was a valid contract, then

    Kurtz did not meet her burden to prove that Morgan was not entitled to

    the $100,000.    Kurtz failed to meet her burden to show that Morgan had

    been overpaid.

          3. Morgan gave back $20,000 of what she obtained from the Scapa

    loan. The judgment awards a double recovery.

          4, Kurtz did not prove her allegation of the FAC that Morgan

    converted $6,400 by depositing the Club's money into her own account.

    Further,   Morgan's evidence that there was no conversion was unrefuted.

    VI.   PLAINTIFF HEIDE KURTZ DID NOT TESTIFY AT TRIAL AND


    PRESENTED NO EVIDENCE OF HER IDENTITY. MUCH LESS HER


    STANDING, SHE WAS A PHANTOM PLAINTIFF, IT WAS ERROR TO

                 ENTER A JUDGMENT IN HER FAVOR.


           1. Relevant case law on standing.

     ACLU-NJ v. Township of Wall ACLU-NJ 246 F.3d 258, 261        (3rd Cir. 2001)

    stated:


      "Plaintiffs bear the burden of proving standing. See Lujan v. Defenders of
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     Wildlife. 504 U.S. 555, 561 (1992). Plaintiffs must carry that burden 'in
     the same way as any other matter on which the plaintiff bears the

      burden of proof, i.e., with the manner and degree of evidence required at
     successive stages of the litigation.' Lujan. 504 U.S. at 561; see also
      FOCUS v. Allegheny County Court of Common Pleas. 75 F.3d 834, 838 (3d
     Cir. 1996). As this appeal comes to us after full litigation on the
      merits, plaintiffs must establish standing in the same manner
     as would be required to prevail on the ultimate merits of their
     case."

        The instant case also comes to appeal after a trial on the merits. In

  Doe v. Tangipahoa Parish School Bd. 494 F.3d 494 (5th Cir. 2007), the

  plaintiffs failed to offer the requisite evidence of standing. The court

  remanded the case to the District Court and ordered it dismissed, holding, at

  p. 499:

            "Without the requisite specifics, this court would be speculating upon
      the facts. This is something we cannot do, particularly in the standing
      context, where the facts must be proven, not merely asserted
      or inferred. See Lujan. 504 U.S. at 561, 112 S.Ct. at 2136.
      Notwithstanding the dissents, plaintiffs' counsel admitted both in briefing
      and in oral argument to the en banc court that the necessary proof is
      absent from the record. No amount of creative inferences from the

      pretrial order or "stipulations" can overcome this defect. As standing is
      not subject to waiver by the parties, see supra note 1, the Boards
      pretrial, and even post-trial, failures to contest standing cannot, ipso



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      facto, create jurisdiction in federal court."
              Proof of injury in fact to Kurtz is an essential element of the standing
  inquiry.    At minimum, Kurtz had to prove her identity and capacity in order to
  arrive at standing.     Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992)
  held that a party seeking to invoke federal jurisdiction bears the burden of
  proving standing and that "the irreducible constitutional minimum of standing
  contains three elements: (1) injury in fact; (2) a causal connection between
  the injury and the conduct complained of; and (3) redressability." (Id. at 560-
  61.)
          Carter v. HealthPort Technologies. LLC 822 F.3d 47, 55 (2nd Cir.
  2016) explained a plaintiff's burden to prove standing:
          "First, the plaintiff must have suffered an 'injury in fact'-an invasion
    of a legally protected interest which is (a) concrete and
    particularized ...


               The injury-in-fact element requires that the plaintiff be 'the proper
    party to bring this suit.' Raines v. Byrd. 521 U.S. 811, 818, 117 S.Ct.
    2312, 138 L.Ed.2d 849 (1997). '[A] plaintiff's complaint must establish
    that he has a 'personal stake' in the alleged dispute . . . .' id. at 819."
          Leuthner v. Blue Cross 454 F.3d 120. 127 (3rd. Cir. 2006) held:

    "For constitutional and prudential standing it is well established that
    standing must exist at the time the suit is commenced and throughout
    the      suit."

             Florida Department of Ins. V Chase Bank of Texas Nat'l Ass'n 274 F.3d

  924, 929 (5th Cir. 2001) stated:




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    "If the plaintiff is not the party who sustained the concrete and
    particularized injury for which a remedy is sought, and is not the assignee
    or designated representative of the injured party,    then it does not have
    standing."

        Qwest Comm. Int'l v Fed. Comm. Comm'n 240 F.3d 886, 891 (10th

  Cir. 2001) stated:

     '"We are obliged to address standing sua sponte because it involves a
    constitutional limitation on a federal court's jurisdiction, and federal
    courts are under an independent obligation to examine their own
    jurisdiction.' . ... The party invoking federal jurisdiction bears the burden
    of establishing th[is] element.'"
        The court in Carter v. HealthPort Technologies 822 F.3d 47, 56 (2nd

  Cir. 2016)   stated:

       "Since the elements of Article III standing   are not mere pleading
    requirements but rather an indispensable part of the plaintiff's case, each
    element must be supported in the same way as any other matter on which
    the plaintiff bears the burden of proof, i.e., with the manner and degree of
    evidence required at the successive stages of the litigation,    id. Thus, the
    showing that must be made in order to withstand a dismissal for
    lack of standing increases as the suit proceeds."



  2. Kurtz failed to prove who she was and thus did not show injury

  in fact to herself or invasion of a legally-protected interest.

        The trial court herein ordered that trial be held on the FAC, not on a


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  joint stipulation. The court said (Nov. 29, 2016, hearing transcript, App. Ex.

  3, p. 4):

       "COURT: That it's just - so what I'm going to do, by the way, I'm not
      even going to --I can't approve this, but I'm not going to ask you to do it
      [joint pretrial stipulation] again, because it's clear to   me that it's not
      going to happen. So, I am going to try this case on the -- basically, we
      have the complaint."
            The FAC, filed February 24, 2014, (App. Ex. 1) alleges in Par. 4, at p.

  3: 'The Trustee is the duly appointed, qualified and acting chapter 11

  trustee for the Debtor's bankruptcy Estate." The Debtor was The Woman's

  Club of Hollywood. It was Kurtz's burden to prove her appointment as

  Chapter 11 Trustee, in order to show invasion of a legally-protected interest

  in herself. It was her burden to show standing at all stages of the case, from

  date of filing the complaint to the end of trial.

              At the November 29, 2016, hearing, the court said that the initial trial

  testimony would be by written declaration. Plaintiff's brief and declarations

  were due by December 28, 2016 (App. Ex. 3, Nov. 29, 2016, transcript, at

  p. 17 and p. 22.) The court said that a party offering a declaration must be

  available for cross-examination at trial. Otherwise, his written pre-trial

  declaration would not be admitted. The following discussion was held (Id., at

  p. 34):



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      "MR. DEMAREST: I'm sorry. I just want to clarify. In regards to the
     declarations that may be prepared, who's going to be -- is the party

     that's doing the declaration responsible for having those people present
     for the cross-examination?

      THE COURT: Yes. Because if they're not here, it's as if they didn't have a
     declaration. Absolutely."



         Heide Kurtz offered no moving trial declaration.    She purported to

  offer a "rebuttal declaration" (App. Ex. 4.) Defendants Alda Shelton and

  Jennifer Morgan objected, and most of Kurtz's alleged rebuttal declaration

  was stricken on the first day of trial (App. Ex. 5: Feb. 15, 2017, trial

  transcript, pp. 25-26.) Moreover, her counsel did not call Kurtz to testify at

  trial, and she was thus was not available for cross-examination (App. Ex.6.

  These are the transcript pages from all 5 days of trial, listing the witnesses

  called by Kurtz's counsel to testify.)

        At trial, Kurtz's counsel, Autumn Spaeth, stated to the Court:

     "MS. SPAETH: So far the Court's procedure has been that we are moving
    in the declarations after the person has sat for cross examination,...."
    (App. Ex. 7, p. 248, lines 7-9.)
        Since Kurtz was not called to testify, her alleged rebuttal declaration

  was not admitted into evidence.      That declaration contained no proof of her

  standing, in any event. Kurtz thus presented no evidence of her very identity


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  or proof of how she-an unidentified person who never took the stand-

  suffered injury-in-fact or invasion of her legally-protected interest.

         Moreover, the designation of the plaintiff in the 2013 FAC was

  "Chapter 11 Trustee." However, in the title page of Kurtz's 2016 opening

  trial brief (App. Ex. 9), Kurtz was now called only "the Plan Trustee." In

  Kurtz's post-trial brief, the title page again called Kurtz "Plan Trustee"

  (App. Ex. 12.) Kurtz's Reply Brief (App. Ex. 15) was entitled "Plan Trustee's

  Omnibus Reply." Kurtz was never referred to as the Chapter 11 Trustee in

  trial papers; yet the Chapter 11 Trustee was the plaintiff. The 2013 FAC

  was never amended to substitute a new party plaintiff. The FAC contained no

  words "Plan Trustee" and no allegation that Heide Kurtz was Plan Trustee or

  allegations of standing. The FAC did not establish that a never-referred-to

  Plan Trustee had any personal stake in the litigation.

        Standing must exist at all times during the suit.   The Chapter 11

  Trustee and the Plan Trustee are two different entities and need not be the


  same person.    The governing statute shows that the Chapter 11 Trustee

  ceases to exist after a Plan has been confirmed.


        11 U.S.C. §1104 states:

       "Appointment of trustee or examiner
      (a) At any time after the commencement of the case but before



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     confirmation of a plan, on request of a party in interest or the United
     States trustee, and after notice and a hearing, the court shall order the
     appointment of a trustee—[on various grounds.]"
        Thus, Kurtz had to meet potentially 3 burdens to show standing at all

  stages of the proceedings: (1) she had to prove that she had been appointed

  the Chapter 11 Trustee and thus had a legally-protected interest and was

  the proper plaintiff at the beginning of the suit; (2) she had to prove that a

  Plan had been approved and that she had been appointed the Plan Trustee,

  since that was apparently her new theory at trial; and (3) she had to prove

  that the Plan Trustee had been given the rights of the Chapter 11 Trustee;

  and if so, she had to amend the FAC to substitute the Plan Trustee for the

  Chapter 11 Trustee.   However, Kurtz offered no admissible evidence

  whatsoever at trial of her identity or of any of the above facts. She could

  not-and did not-even seek to amend to conform to proof.       She had offered

  no proof to conform to.   In her motion in this court to extend the time to file

  an opening brief, her counsel now calls her the "Chapter 11 Trustee AND Plan

  Trustee," two inconsistent designations, neither of which she proved below.

  Kurtz cannot decide who she should be and takes all possible positions on

  appeal, hoping that her caption will substitute for the proof she failed to

  produce at trial.

         Defendant Alda Shelton's pre-trial brief, filed after defendants had

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  been served with all of Kurtz's pretrial documentary evidence, her requests

  for judicial notice, and her trial declarations, asserted that Kurtz had not

  proven her standing.    (See Shelton's corrected pre-trial brief, App. Ex. 10,

  Section II.) Appellant joined in Shelton's pre-trial brief (See Morgan's pre-trial

  brief, App. Ex. 11, p. 2, line 13.)

         Despite the arguments in both defendants' pre-trial briefs, at trial

  Kurtz's attorneys offered no testimony or evidence of Kurtz's standing-

  that is, no proof that she suffered "invasion of a legally protected interest"

  or that she was the proper plaintiff to bring the suit, as either Chapter 11

  Trustee or Plan Trustee.     Kurtz offered no evidence that she had been


  appointed the Plan Trustee or that the alleged Plan Trustee had the rights of

  the Chapter 11 Trustee to continue the suit. The entire thrust of Kurtz's

  attorneys at trial was to seek to prove bad acts by defendants. They ignored

  their own threshold burden of proving exactly who Heide Kurtz was and why

  she had standing.

          Kurtz's Post-Trial Brief (App. Ex. 12) was no better.   It did not argue

  that Kurtz had proven at trial that she had standing. The issue was

  completely ignored, despite Appellant's and Shelton's pre-trial briefs raising

  the issue.   In response to Kurtz's total failure at trial to testify, much less

  to prove her standing, Shelton's and Morgan's post-trial briefs, filed after


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  they saw Kurtz's post-trial brief, again asserted that Kurtz had not proven

  standing. [See Morgan's post-trial brief (App. Ex. 13, at p. 2) which joined in

  the argument in Shelton's post-trial brief (App. Ex. 14, Section VIII.)]

         Kurtz's Post-Trial Reply Brief (App. Ex. 15)--her third brief-still did

  not respond to defendants' standing argument. This vacuum of argument in

  her three briefs was a concession that Kurtz could not overcome her lack of


  evidence and her deficient pleading.    Kurtz's only rebuttal at all stages of the

  case was to cast a blind eye and avoid the issue.

          It was Kurtz's burden to plead and prove standing at all stages of the

  case, and she failed to do so. The court resolved no issue of fact regarding

  her standing, for Kurtz presented no evidence.       As a matter of law, it was

  error for the court to award any judgment in favor of Kurtz because the

  court had no jurisdiction. The case should have been dismissed at the end of

  trial, for lack of proof of Kurtz's standing.

        VII.   JUDICIAL ADMISSIONS IN THE PLEADINGS ARE BINDING.


        In re Barker    839 F.3d 1189, 1195 (9th Cir. 2016) held:

         "The Ninth Circuit has acknowledged the doctrine of judicial admissions.
        [Citation.]   'Judicial admissions are formal admissions in the pleadings
        which have the effect of withdrawing a fact from issue and
        dispensing wholly with the need for proof of the fact.' [Citation.]
        Judicial admissions are 'conclusively binding on the party who


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       made    them.'"

       Trinidad y Garcia v. Thomas 683 F.3d 952, 982 (9th Cir. 2012) stated; " A

 judicial admission is binding before both trial and appellate courts." Whitlock v.

  Brown 596 F.3d 406, 412 (7th Cir. 2010) held:

          "A judicial admission trumps evidence. [Citation.]          This is the

       basis of the principle that a plaintiff can plead himself out of

       court."


       Hoodo v. Holder 558 F.3d 184, 191 (2d Cir.2009) stated:

     "Facts admitted by a party 'are judicial admissions that bind th[at] [party]
     throughout th[e] litigation.' Gibbs ex rel. Estate of Gibbs v. CIGNA Corp., 440
     F.3d 571, 578 (2d Cir.2006); see also Oscanyan v. Arms Co., 103 U.S. 261,
     263, 26 L.Ed. 539 (1881) (The power of the court to act in the
     disposition of a trial upon facts conceded by counsel is as plain as
     its power to act upon the evidence produced.'); 2 McCormick on Evid.
     §254 (6th ed. 2006) ('Judicial admissions are not evidence at all.
     Rather, they are formal concessions in the pleadings in the case or
     stipulations by a party or counsel that have the effect of
     withdrawing a fact from issue and dispensing wholly with the need
     for proof of the fact. Thus, a judicial admission, unless allowed by
     the court to be withdrawn, is conclusive in the case ..."'

           Federal Rules of Civil Procedure, Rule 11, states:

      "(b) Representations to the Court. By presenting to the court a pleading,
     written motion, or other paper-whether by signing, filing, submitting, or later
     advocating it—an attorney or unrepresented party certifies that to the best


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     of the person's knowledge, information, and belief, formed after an inquiry
     reasonable under the circumstances: .. (3) the factual contentions have
     evidentiary support or, if specifically so identified, will likely have
     evidentiary support after a reasonable opportunity for further
     investigation or discovery."


 VIII. THE FAC MADE THE JUDICIAL ADMISSION THAT MORGAN HAD AN

  EMPLOYMENT CONTRACT.              IT WAS ERROR FOR THE COURT TO FIND

 THAT MORGAN HAD NO CONTRACT, FOR THE ADMISSION OF THE FAC
                WAS CONCLUSIVE.

         The first claim for relief of the FAC is for breach of fiduciary duty
 against Jennifer Morgan, et al. The judgment (App. Ex 17, p. 2) stated:
    "The Court finds that plaintiff has shown sufficient evidence to meet her
    burden of proof to establish liability as to defendant Jennifer Morgan

    ("Morgan") on three of the transactions that are the subject of the First
    Amended Complaint, together with prejudgment interest on those
    transactions, as follows: ...

             3. Morgan's receipt of $120,016.73 directly from escrow in
    connection with the SCAPA loan: $120,016.73 plus prejudgment interest
        i)




             The FAC (App. Ex. 1, at page 11) alleges:
             "38. The Trustee is informed, believes, and alleges that, during the

    June 26, 2010, meeting, the Board discussed the need to decide the
    Executive Director contract because Morgan was going to stop

    performing services for the Debtor as of July 24, 2010.
             39. The Trustee is informed, believes, and alleges that in or about July


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    21, 2010, the Board agreed with Morgan to compensate Morgan for
    serving as the Debtor's Executive Director. The Board agreed to pay
    Morgan $300 per week for expenses and to accrue Morgan's 'salary
    at $8,000 a month starting August 1, 2010, payable only if money
    exists' because the Debtor could not afford to pay Morgan at that time.
    Minutes of the July 21, 2010, Meeting are attached hereto as Exhibit '3'."
         The July 21, 2010, Minutes, authenticated as Exhibit 3 to the FAC (App. Ex.
  1, at p. 69), state, at Par. 4:
           "It is finally decided to accrue Jennifer Morgan's salary at $8,000
    a month starting August 1,2010. Payable only if money exists.
           "Resolution 5. Motion made by Kay Tornborg to Compensate Executive
    Director. Motion seconded by Kandace Krapu. Compensation for the Executive
    Director passes. 8 yes to 2 no votes that came from Christine Zardenta and
    Ian Duncan."

         The last line of the Minutes states on page 4 that the Minutes were

  "Accepted with Resolutions on August 28, 2010, offered into record by Michael

  Wallace, Recording Secretary." These approved Minutes, at p. 1 (App. Ex. 1, p.

  66),   list the 10 directors present at the meeting, with the eleventh absent.

  Morgan was not a director. She did not vote on her own salary. The Minutes show

  that Morgan was present and witnessed the vote.

         Par. 38 of the FAC makes the conclusive judicial admission that Morgan

  threatened to quit as of July 24, 2010, unless she were given a contract.    Par.

  39 of the FAC, alleging the contract, shows that the Board got Morgan to stay on



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 by agreeing to pay her. The FAC's admissions show that the Resolution was a

 valid contract, as well as a basis for a claim by Morgan of estoppel and

 detrimental reliance on the Resolution.    Kurtz's judicial admissions will be relevant

  later in this brief, for Kurtz took the contradictory position in her post-trial

  briefs: that the Board never agreed to pay Morgan because it could not afford

  her; that Morgan was owed nothing for any of her services; and that she had to

  return 100% of the money paid her.     Kurtz made no motion to withdraw the

 judicial admissions of Pars. 38 and 39 of the FAC, and they are conclusive in this

  appeal.

        Despite the judicial admission in the FAC and the undisputed evidence

  contained in the admittedly-valid and authenticated July 21, 2010, Resolution, the

 court found that Morgan had no contract.       It stated at the May 17, 2017, oral

  argument (App. Ex. 16, at p. 62, lines 5-18):

     "THE COURT: And the third one, the one thing that the testimony is clear,
    that - for me anyway, that there was not a board approval of the

    contract. The one thing that people were adamant about is the board
    simply could not afford - or at that time, there was testimony that at

    the-at some point, if the club was actually able to pay. When I -- to
    me, that means not able because you borrow the money, that's able to
    pay financially, that the money is coming in. And I do - and so, as
    far as I am concerned, I -- there is -- I am not satisfied at all that

    there was ever a binding contract to - for the payment of the - of


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    this. And, therefore, the money that came out of the $120,216.73
    [the August, 2011, Scapa loan] was not properly disbursed [to
    Morgan.]"
        It was error for the court to find that there was no Board approval of

 Morgan's contract when the FAC judicially admitted that Morgan was going to

 quit without a contract; when the FAC admitted that the Board approved the

 contract; and when the FAC even pleaded and authenticated the July 21,

 2010, Board Resolution as an exhibit. The court cannot make findings

 contrary to judicial admissions and to an authenticated and admittedly-valid

  Board Resolution.   A judicial admission trumps contrary evidence, and it was

  error for the court even to consider evidence or argument contrary to the

  admissions in the FAC.   The July 21, 2010, Resolution shows at the bottom

 that it was ratified by the Board a second time on August 28, 2010, after

 the initial vote on July 21. There was no basis for the court to find that the

  Board had not approved Morgan's contract. The Resolution was the

 contract, assuming that an employee even needs a written contract in order

  to get paid.

        At trial, Morgan was entitled to rely on the FAC's judicial admissions.

  She was not required to offer evidence to prove what Kurtz had already

 conceded.




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